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   10
                                        UNITED STATES DISTRICT COURT
   11
                                     NORTHERN DISTRICT OF CALIFORNIA
   12
                                               SAN FRANCISCO DIVISION
   13
                                                           CASE NO.: 4:20-mc-80214-VC
   14

   15                                                      STIPULATION AND [PROPOSED]
          IN RE DMCA § 512(h)                              ORDER TO INCREASE PAGE LIMIT OF
   16     SUBPOENA TO TWITTER, INC.                        BAYSIDE ADVISORY, LLC’S RESPONSE
                                                           / OPPOSITION BRIEF
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    1             This stipulation is entered into between Petitioner Bayside Advisory LLC (“Petitioner” or
    2     “Bayside”) and Respondent Twitter, Inc. (“Respondent” or “Twitter”; collectively with
    3     Petitioner, the “Parties”) pursuant to Local Rule 7-12.
    4             On January 19, 2022, the Court granted (as modified) the parties’ stipulation to modify
    5     the briefing schedule on Twitter’s Motion for De Novo Determination of Dispositive Matter
    6     Referred to Magistrate Judge (Dkt. 22) (the “Motion”). The briefing schedule allowed for amici
    7     curiae in support of Twitter to file briefs by February 18, 2022. Amici curiae Electronic Frontier
    8     Foundation and ACLU Foundation of Northern California filed a brief on February 18, 2022 (the
    9     “Amici Brief”), which totaled 15 pages. Bayside’s response / opposition brief is due on March
   10     11, 2022.
   11             The Court’s Standing Order sets the page limit for opposition briefs at 15 pages (see
   12     Standing Order, ¶ 38). In order to adequately address the important and complicated issues raised
   13     in both the Motion and the Amici Brief, Bayside wishes to obtain an increase in the page limit
   14     from 15 pages to 20 pages. Counsel for Bayside sought and obtained the consent of counsel for
   15     Twitter to this request on March 7, 2022.
   16             NOW, THEREFORE, IT IS HEREBY STIPULATED, by and between the undersigned
   17     counsel for the Parties herein, and subject to the approval of the Court, that the page limit for
   18     Bayside’s response / opposition brief shall be increased from 15 pages to 20 pages.
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   20             IT IS SO STIPULATED.
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   22      DATED: March 7, 2022                         Respectfully submitted,

   23                                                   GLASER WEIL FINK HOWARD
                                                         AVCHEN & SHAPIRO LLP
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   25
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